Case 2:03-CV-02518-dkv Document 58 Filed 05/06/05 Page 1 of 3 Pa e|D 49

F!!.EL“) mr -
IN THE UNITED sTATEs DISTRIcT comm-
FoR THE wEsTERN DISTRICT oF TENNESQ§EL,Y -5 m--H{}: 52
WESTERN DIVISION

 

 

 

..,--wauHP

/"¢ ,-`¢" ";l ,'l le\k.¢‘,..-J
p‘"§§-}FI !‘5151:. !"" CT-
§?;€` 'r '-r:-`\ ;-.»:z*r-f"@…€`>

THOMAS WESLEY SCRUGGS,
Plaintiff,

vs. No. 03-2518 D/V

THE BOARD OF EDUCATION OF THE

MEMPHIS CITY SCHOOLS; JOHNNIE
WATSON; and BOB ARCHER

\_rv-._¢'~..z\_p\_¢\._»\~_¢`_dv\_r

Defendant.

 

ORDER GRANTING DEFENDANTS' MOTION TO EXCEED PAGE
LIMIT FOR MEMORANDUM IN SUPPORT OF DEFENDANTS'
MOTION FOR SUMMARY JUDGMENT

 

On March 25, 2005, the defendants, the Board of Education of
the Memphis City Schools, Johnnie Watson, and Bob Archer, filed a
motion for summary judgment. The memorandum in support of their
motion was twenty-eight (28) pages in length. On April 25, 2005,
the plaintiff, Thomas Wesley Scruggs, filed a motion to strike the
defendants' memorandum because it was in excess of the twenty (20)
page limit allowed under Local Rule 7.2(e).

Presently before the court is the May 4, 2005 motion of the
defendants for leave to file a memorandum in support of their
motion for summary judgment in excess of the twenty page limit set
forth in Local Rule 7.2(e)l nunc pro tunc. For the following
reasons,r the Defendants’ motion is granted.

// ,

Th!a document entered on the docket sh et r [9/ 07
with Rule 58 andlor 79{a) FRCP on 7

Case 2:03-CV-02518-dkv Document 58 Filed 05/06/05 Page 2 of 3 Page|D 50

In this case, the plaintiff filed a complaint which included
allegations of discrimination based on age and disability, claims
for breach of contract, retaliatory discharge, intentional
infliction of emotional distress and violations of due process
under 42 U.S.C. § 1983. Given the number of claims set forth by
the plaintiff in his complaint, it is only fair to allow the
defendants to respond fully and. completely to the accusations
brought against them. The memorandum in question is not excessive
and only exceeds the page limit by eight pages. Furthermore, the
responses by the defendants were brief and concise and barely
exceeded five pages per cause of action.

Accordingly, the defendants motion to exceed the page limit
set forth by Local Rule 7.2(e), nunc pro tunc, is granted.
However, the defendants are warned, henceforthl that memoranda in
support of or in opposition to motions filed in excess of twenty
pages without prior court approval will be stricken.

IT IS SO ORDERED this 5th day Of May, 2005.

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:03-CV-02518 Was distributed by faX, mail, or direct printing on
May 12, 2005 to the parties listed.

 

 

Ernest G. Kelly

STOKES BARTHOLOMEW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

1\/1emphis7 TN 38120

Prince C. Chambliss

STOKES BARTHOLOMEW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

1\/1emphis7 TN 38120

Paul Forrest Craig

LAW OFFICE OF PAUL FORREST CRAIG
100 N. Main St.

Ste. 923

1\/1emphis7 TN 38103

Michael R. Marshall

STOKES BARTHOLOMEW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

1\/1emphis7 TN 38120

Honorable Diane Vescovo
US DISTRICT COURT

